          Case 1:05-cr-01849-JCH                        Document 928        Filed 02/22/07   Page 1 of 1




                                   IN THE UNITED STATES DISTRICT COURT

                                        FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA,

                      Plaintiff,

VS.                                                                     CR NO. 05-1849 JH


AYLA JARVIS,

                      Defendant.

                                                    NOTICE OF HEARING


BY THE DIRECTION OF THE HONORABLE JUDITH C. HERRERA:

Please take notice that an evidentiary hearing on Ayla Jarvis’Motion to Suppress Evidence from
Illegal Traffic Stop & Search on 10-28-04 in Bloomington, IA [715], filed October 20, 2006, is
hereby scheduled for APRIL 3, 2007 AT 9:30 A.M. before the Honorable Judith C. Herrera, at
the U.S. Courthouse, Brazos Courtroom–5th Floor, 333 Lomas N.W., Albuquerque, New
Mexico.

Any inquiries regarding this setting should be directed to Lincoln Sorrell, Courtroom Deputy to
Judge Judith C. Herrera at 348-2398.


                                                       MATTHEW J. DYKMAN, Clerk of Court




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A copy of this was notice was mailed or electronically transmitted
to all counsel of record as they are reflected on the Court’s docket.
